                     Case 21-51013-KBO        Doc 58     Filed 08/17/22     Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 7

    BAYOU STEEL BD HOLDINGS, L.L.C., et                       Case No. 19-12153 (KBO)
    al., 1                                                    (Jointly Administered)
              Debtors.


    GEORGE L. MILLER, in his capacity as
    Chapter 7 Trustee for the jointly administered
    bankruptcy estates of Bayou Steel BD
                                                              Adv. No. 21-51013 (KBO)
    Holdings, L.L.C., et al.,

                               Plaintiff,
                v.

    BLACK DIAMOND CAPITAL
    MANAGEMENT, L.L.C., et al.,

                               Defendants.

                             STIPULATION CONCERNING SCHEDULING

             Plaintiff George L. Miller, Chapter 7 Trustee (“Plaintiff” or the “Trustee”) for the jointly

administered Chapter 7 bankruptcy estates of Bayou Steel BD Holdings, L.L.C., BD Bayou Steel

Investment, LLC, and BD LaPlace, LLC (collectively, “Debtors”); and Defendants Black

Diamond Capital Management, L.L.C., BDCM Opportunity Fund IV, L.P., Black Diamond

Commercial Finance, L.L.C., Sam Farahnak, Phil Raygorodetsky, Rob Archambault, Terry Taft,

and Bob Unfried (individually, a “Defendant,” collectively, the “Defendants” and, together with



1
       The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal
tax identification number, are: Bayou Steel BD Holdings, L.L.C. (1984), BD Bayou Steel
Investment, LLC (1222), and BD LaPlace, LLC (5783).



DOCS_DE:240293.1 57095/001
                 Case 21-51013-KBO               Doc 58    Filed 08/17/22   Page 2 of 4




the Plaintiff, the “Parties”), through their respective counsel, enter into this Stipulation Concerning

Scheduling (the “Stipulation”) and hereby stipulate and agree as follows:

        WHEREAS, on August 11, 2021, the Trustee filed the Complaint [Adv. D.I. 1];

        WHEREAS, on November 22, 2021, Defendants filed Motions to Dismiss the claims set

forth in the Complaint [Adv. D.I. 25, 27]; and

        WHEREAS, on August 3, 2022, the Court issued the Memorandum Opinion and Order

Granting in Part and Denying in Part Defendants’ Motions to Dismiss the Complaint [Adv. D.I.

56, 57], which, inter alia, granted the Trustee leave to amend certain of the dismissed claims.

        NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

the Trustee and each Defendant, as follows:

        1.       The Trustee intends to file an Amended Complaint and he shall do so on or before

September 2, 2022.

        2.       Defendants’ deadline to respond to the Amended Complaint shall be stayed while

the parties engage in settlement discussions.

        3.       Should the Parties’ settlement discussions prove unsuccessful, any of the Parties

may file a notice (the “Notice”) with the Court advising of same, in which event the following

schedule shall govern further pleading/briefing:

                 a.          Defendants will file their response to the Amended Complaint within 30

                             days of the filing of the Notice; and

                 b.          If Defendants file a motion to dismiss the Amended Complaint, the Trustee

                             shall have 30 days to respond, and Defendants shall have 15 days thereafter

                             to file a reply brief.




                                                       2
DOCS_DE:240293.1 57095/001
                 Case 21-51013-KBO       Doc 58     Filed 08/17/22     Page 3 of 4




         4.      This Stipulation is without prejudice to further requests for extensions of the

foregoing deadlines in accordance with the Local Rules of Bankruptcy Practice and Procedure in

the United States Bankruptcy Court for the District of Delaware.

 Dated: August 17, 2022

 PACHULSKI STANG ZIEHL                              FOX ROTHSCHILD LLP
 & JONES LLP

 /s/ Peter J. Keane_____________________            /s/ Seth A. Niederman_________________
 Bradford J. Sandler (DE Bar No. 4142)              Seth A. Niederman (DE Bar No. 4588)
 Colin R. Robinson (DE Bar No. 5524)                919 N. Market Street, Suite 300
 Peter J. Keane (DE Bar No. 5503)                   Wilmington, DE 19801-3062
 919 North Market Street, 17th Floor                Tel: (302) 654-7444
 Wilmington, DE 19801                               sniederman@foxrothschild.com
 Tel: (302) 652-4100
 bsandler@pszjlaw.com
 crobinson@pszjlaw.com
 pkeane@pszjlaw.com

 -and-                                              -and-

 KAUFMAN, COREN & RESS, P.C.                        KRAMER LEVIN ROBBINS RUSSELL
 Steven M. Coren, Esq. (pro hac vice)               Lawrence S. Robbins (pro hac vice)
 Benjamin M. Mather, Esq. (pro hac vice)            William J. Trunk (pro hac vice)
 Janice D. Felix, Esq. (pro hac vice)               Jack A. Herman (pro hac vice)
 Two Commerce Square                                2000 K Street, N.W., 4th Floor
 2001 Market Street, Suite 3900                     Washington, D.C. 20006
 Philadelphia, PA 19103                             Tel: 202-775-4500
 Tel: (215) 735-8700                                lrobbins@kramerlevin.com
 scoren@kcr-law.com
 bmather@kcr-law.com                                -and-
 jfelix@kcr-law.com
                                                    ZAIGER LLC
 Counsel for George L. Miller,                      Jeffrey H. Zaiger (pro hac vice)
 Chapter 7 Trustee                                  432 Park Avenue, Suite 19A
                                                    New York, NY 10022
                                                    Tel: (917) 572-7701
                                                    jzaiger@zaigerllc.com

                                                    Counsel to Defendants Black Diamond Capital
                                                    Management, L.L.C., BDCM Opportunity
                                                    Fund IV, L.P., Black Diamond Commercial
                                                    Finance, L.L.C., Sam Farahnak, and Phil
                                                    Raygorodetsky

                                                3
DOCS_DE:240293.1 57095/001
                 Case 21-51013-KBO    Doc 58      Filed 08/17/22   Page 4 of 4




 BENESCH, FRIEDLANDER, COPLAN
 & ARONOFF LLP

 /s/ Jennifer R. Hoover________________
 Jennifer R. Hoover, Esq. (DE Bar No. 5111)
 Kevin M. Capuzzi (DE Bar No. 5462)
 1313 North Market Street, Suite 1201
 Wilmington, DE 19801
 Tel: (302) 442-7010
 jhoover@beneschlaw.com

 -and-

 Sven T. Nylen (pro hac vice)
 Jacob H. Marshall (pro hac vice)
 71 South Wacker Drive, Suite 1600
 Chicago, IL 60606
 Tel: (312) 212-4949
 snylen@beneschlaw.com
 jmarshall@beneschlaw.com

 Counsel to Defendants Rob Archambault,
 Terry Taft, and Bob Unfried




                                              4
DOCS_DE:240293.1 57095/001
